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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                            )
                                                     )
v.                                                   )       CRIMINAL NO. 18-cr-10106-PBS
                                                     )
DEMONE COLEMAN,                                      )
             Defendant.                              )
                                                     )


                           MOTION TO APPEAR BY TELEPHONE


       Counsel for Defendant Demone Coleman hereby moves that the Court authorize him to

appear at the final status conference, scheduled for today, Tuesday, September 11, 2018, at 2:30

p.m., by telephone.

       As grounds, Defendant asserts that allowing his appointed counsel to appear by telephone

will conserve resources.

       WHEREFORE the Defendant respectfully requests the Court authorize his counsel to

appear at the final status conference this afternoon by telephone.

                                                     Respectfully submitted,
                                                     DEMONE COLEMAN,
                                                     By his attorney,


                                                     /s/Ian Gold
                                                     Ian Gold (BBO# 665948)
                                                     Law Office of Ian Gold
                                                     2 Mill & Main Place, Ste. 260 EF
                                                     Maynard, MA 01754
                                                     (617) 297-7686 (phone)
                                                     ian.gold@iangoldlaw.com
Date: September 11, 2018
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                                CERTIFICATE OF SERVICE

I hereby certify that true copies of this document will be served on the registered parties through
the ECF system on this date, Sept. 11, 2018.

                                              /s/Ian Gold
                                              Ian Gold




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